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           ORDERED in the Southern District of Florida on June 19, 2020.




                                                            Robert A. Mark, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                                                                CASE NO.: 20-13622-BKC-RAM
                                                              PROCEEDING UNDER CHAPTER 13

  IN RE:

  JUAN JOSE PEREZ MIER

  _____________________________/
  DEBTOR

  ORDER CONTINUING CONFIRMATION HEARING AND MAKING ALL DEBTOR PAYMENTS
                            NON-REFUNDABLE

     THIS CASE came to be heard on June 16, 2020 upon the Confirmation Hearing of the Chapter 13
  Case, and based on the record, it is

     ORDERED as follows:

     1. The Confirmation Hearing is continued to July 21, 2020 at 1:35 pm in Courtroom 4 at UNITED
        STATES BANKRUPTCY COURT, C. CLYDE ATKINS UNITED STATES COURTHOUSE,
        301 NORTH MIAMI AVENUE, MIAMI, FL 33128.
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           ORDER CONTINUING CONFIRMATION HEARING AND MAKING ALL DEBTOR PAYMENTS NON-REFUNDABLE
                                                                        CASE NO.: 20-13622-BKC-RAM


  2. The Debtor is ordered to continue making payments each month to the Chapter 13 Trustee in
     accordance with the last filed Chapter 13 Plan. Failure to continue payments may result in the
     dismissal of this case.

  3. As a condition for the continued confirmation hearing and delay of payments to creditors, all
     payments held by the Chapter 13 Trustee shall be non-refundable and held in trust for the secured
     creditors as adequate protection, and in trust for priority and administrative creditors.

  4. If this case is dismissed or converted, the Trustee shall disburse all funds which were received
     prior to the order of conversion or dismissal and held in trust. The disbursement shall be on a pro
     rata basis, less Trustee fees, to the secured, priority or administrative creditors pursuant to the
     proposed Chapter 13 Plan which was filed at least one day prior to last confirmation hearing date.


                                                 ###

ORDER SUBMITTED BY:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

COPIES FURNISHED TO:

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